            Case 3:10-cr-05723-BHS          Document 234        Filed 04/01/15    Page 1 of 1




 1
                                UNITED STATES DISTRICT COURT
 2                             WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 3

 4      UNITED STATES OF AMERICA,                          CASE NO. CR10-5723BHS

 5                         Plaintiff-Respondent,           ORDER DENYING MOTION FOR
                                                           REDUCTION OF SENTENCE
 6               v.

 7      FABIAN MENDEZ,

 8                         Defendant-Movant.

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            This matter comes before the court on Defendant-Movant Fabian Mendez’ (Mendez)
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     Motion to Reduce Sentence Pursuant to 18 U.S.C. § 3582(c)(2). Dkt. # 229. The court has
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     reviewed the motion and the government’s response (Dkt. 233), and finds that because the
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     sentence that Mendez is serving is the applicable mandatory minimum sentence of ten years (120
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     months) required by 21 U.S.C. § 841(b)(1)(A), Defendant is ineligible for a reduction in sentence
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     because his sentence was a mandatory minimum sentence, not a sentence based on the
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     Sentencing Guidelines. NOW, THEREFORE,
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            IT IS HEREBY ORDERED that Mendez’ Motion to Reduce Sentence Pursuant to 18
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     U.S.C. § 3582(c)(2) is DENIED.
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            Dated this 1st day of April, 2015.




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                                                   BENJAMIN H. SETTLE
22                                                 United States District Judge

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     ORDER - 1
